2:25-cv-00553-JD-MGB   Date Filed 02/19/25   Entry Number 8   Page 1 of 6




                                                     2:25-cv-00553-JD-MGB




 2/19/2025
2:25-cv-00553-JD-MGB   Date Filed 02/19/25   Entry Number 8   Page 2 of 6
2:25-cv-00553-JD-MGB   Date Filed 02/19/25   Entry Number 8   Page 3 of 6




                                                     2:25-cv-00553-JD-MGB




  2/19/2025
2:25-cv-00553-JD-MGB   Date Filed 02/19/25   Entry Number 8   Page 4 of 6
2:25-cv-00553-JD-MGB   Date Filed 02/19/25   Entry Number 8   Page 5 of 6




                                                    2:25-cv-00553-JD-MGB




 2/19/2025
2:25-cv-00553-JD-MGB   Date Filed 02/19/25   Entry Number 8   Page 6 of 6
